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                                           U.S. Department of Justice

                                                        United States Attorney
                                                        Southern District of New York
                                                        The Silvio J. Mollo Building
                                                        One Saint Andrew’s Plaza
                                                        New York, New York 10007



                                                        March 11, 2021

BY ECF

Honorable Jed S. Rakoff
United States District Judge
Southern District of New York
New York, New York 10007

        Re:     United States v. Hamid Akhavan et al., S3 20 Cr. 188 (JSR)

Dear Judge Rakoff:

        The Government respectfully submits this letter to address the recent request from a
reporter to gain access to: (1) the unredacted version of certain documents that were filed in a
redacted form in the above-captioned case (Dkt. 224 and 170), and (2) exhibits that have been
admitted at this trial. The Government addresses each request below.

       As to the first request, the Government objects to sharing the letter filed at docket number
224 in an unredacted form with the reporter. The document contains references to proactive
cooperation as well as references to 3500 material that is covered by the Court’s order governing
3500 material. (Dkt. 118). As to the motion in limine filed at docket number 170, the Government
has no objection to providing GX 1684 in the same form it has been admitted in at trial.

         Finally, as to the reporter’s request for access to the exhibits that have been admitted at this
trial, the Government does not have any general objection to this request. The Government has
already provided the press with access to approximately over one hundred exhibits that have been
admitted at trial. However, for documents requiring more substantial redactions to protect any
sensitive personal identification information (“PII”) or other sensitive information, such as bank
records, we would ask for a reasonable period of time to allow the parties to confer about those
documents and make redactions to those documents before producing them to the press. The
Government has begun the process of identifying and redacting exhibits that are likely to contain
such PII. As to the defense exhibits, the Government would request that the defense is responsible
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for making any necessary redactions.


                                           Very truly yours,

                                           AUDREY STRAUSS
                                           United States Attorney

                                        by: s/
                                            Nicholas Folly
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cc: all counsel of record (by ECF)
